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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7         REBIO RONNIE TOWNSEND,                          Case No. 21-cv-02055-EMC
                                   8                     Plaintiff,
                                                                                             ORDER OF DISMISSAL
                                   9               v.

                                  10         DEPARTMENT OF STATE HOSPITALS,
                                             et al.,
                                  11
                                                         Defendants.
                                  12
Northern District of California
 United States District Court




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                                  15            On July 23, 2021, mail was sent from the Court to Plaintiff at the address he provided to

                                  16   the Court. Docket No. 15. This mail was returned undelivered on August 23, 2021, bearing a

                                  17   stamp that read in part “return to sender” and had a handwritten notation “UTF,” which is used to

                                  18   indicate that the post office is unable to forward. Docket No. 17-1. Plaintiff has not provided any

                                  19   address other than the address to which the undeliverable mail was sent. More than sixty days

                                  20   have passed since the mail was returned to the Court undelivered.

                                  21            Plaintiff has failed to comply with Local Rule 3-11(a) which requires a party proceeding

                                  22   pro se to “promptly file with the Court and serve upon all opposing parties a Notice of Change of

                                  23   Address specifying the new address” when his address changes. Local Rule 3-11(b) allows the

                                  24   Court to dismiss a complaint without prejudice when mail directed to a pro se party is returned as

                                  25   not deliverable and the pro se party fails to send written notice of his current address within sixty

                                  26   days of the return of the undelivered mail.

                                  27   ///

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                                   1          This action is DISMISSED without prejudice pursuant to Local Rule 3-11(b), because

                                   2   Plaintiff failed to keep the Court informed of his address in compliance with Local Rule 3-11(a).

                                   3

                                   4          IT IS SO ORDERED.

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                                   6   Dated: November 3, 2021

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                                   8                                                   ______________________________________
                                                                                        EDWARD M. CHEN
                                   9                                                    United States District Judge
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                                  12
Northern District of California
 United States District Court




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